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                IN THE UNITED STATES DISTRICT COURT

                 FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA          )
                                  )
          v.                      ) CRIMINAL NO. 1:17-CR-10066-IT
                                  )
ISIS LUGO-GUERRERO                )

                       SENTENCING MEMORANDUM

     On February 14, 2017, the defendant was arrested upon an

Indictment charging her with conspiring to distribute and

possess with intent to distribute heroin, fentanyl, and cocaine,

in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C).

     On March 10, 2017, the defendant was released on bail.             The

Court scheduled her trial to commence on September 10, 2018.            On

that day, the Court, lawyers, witnesses, and jurors were ready

to proceed, but the defendant failed to appear.

     On October 3, 2018, the U.S. Marshals Service arrested the

defendant in Boston.    She has since been detained.        On November

20, 2018, she pled guilty to the conspiracy charge.

     The case arose from an eight month wire-tap investigation

of the defendant’s brother Jose Antonio Lugo-Guerrero, whose

phone was the subject of the majority of interceptions.           The

investigation showed that the defendant obtained heroin and

fentanyl from her brother and others that she then re-sold.             It


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further showed that she and her brother used her 10 Fox Street

apartment as a place to store, prepare, and distribute heroin

and fentanyl.    She was knowledgeable enough about the drug trade

to complain about the potency of the drugs during calls with her

brother.   She was assertive enough to tell her brother to tell a

co-defendant to give her the money back for poor quality drug

today, "or there will be trouble."

     The Presentence Investigation Report (PSR) found that the

defendant was responsible for at least 100 but less than 400

grams of heroin, corresponding to a level 24.         The PSR found

that the defendant obstructed justice by failing to appear for

trial, resulting in a 2-level increase, and a total offense

level of 26.    The PSR denied the defendant an adjustment for

acceptance of responsibility because she obstructed justice and

this was not an “extraordinary” case.        USSG 3E1.1, Application

Note 4 (“Conduct resulting in an enhancement under §3C1.1

(Obstructing or Impeding the Administration of Justice)

ordinarily indicates that the defendant has not accepted

responsibility for his criminal conduct. There may, however, be

extraordinary cases in which adjustments under both §§3C1.1 and

3E1.1 may apply.”).

     The defendant has no criminal history points, no criminal



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convictions, and no criminal arrests.

     At 26/I, the corresponding Guideline Sentencing Range (GSR)

for Count One is 63-78 months, or 5-6½ years.

     The defendant objected to the GSR calculation.           She argues

that she should not receive a 2-level increase for obstruction

of justice; that she should receive a 4-level reduction for

minimal role pursuant to USSG 3B1.2; that she should receive a

2-level reduction for familial influence pursuant to USSG

2D1.1(a)(17); and that she should receive a 3-level decrease for

acceptance of responsibility.      As a result, she argues that her

total offense level should be 15 (24-4-2-3=15), resulting in a

GSR of 18-24 months.    She urges the Court to impose a time

served sentence, which would be roughly a 6-month sentence.

With one exception, her objections are without merit.

     The defendant argues that no obstruction increase is

warranted.   She claims she was fearful of trial, fell back into

addiction, was arrested quickly, and then pled guilty quickly.

Thus, she argues her failure to appear, “did little to impede

the administration of justice.”         There is no legal or logical

support for this argument.      Her failure to appear undermined

weeks of preparation by counsel, undoubtedly disrupted the

Court’s docket, and had cascading inconveniences to other



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participants in the process.      She did not surrender shortly

after failing to appear, but had to be arrested by the Marshals,

who had to expend significant resources to track, find, and

safely arrest her.    Her claimed drug relapse is not an excuse

for the obstructive conduct.      In short, the argument for no

obstruction adjustment is without legal or factual support.

     The question of acceptance is a closer one.          The guidelines

provide that obstruction “ordinarily indicates” that the

defendant has not accepted responsibility, but that there may be

“extraordinary cases” where acceptance is granted

notwithstanding obstruction. Compare United States v. Soltero,

146 F. App'x 69, 71 (8th Cir. 2005)(district court did not err

in finding failure to appear and subsequent guilty plea did not

constitute); and United States v. Gregory, 315 F.3d 637, 641

(6th Cir. 2003)(a case can be extraordinary where the

obstruction wholly pre-dates conduct constituting acceptance).

Here, the defendant did plead guilty after failing to appear,

although there is nothing “extraordinary” about the case under

the ordinary definition of that term.        On balance, because the

obstruction occurred before the conduct that constituted

acceptance, and the circumstances are unusual, the government

does not object to a reduction for acceptance.          The government



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notes that the defendant failed to appear on the day of trial,

and did not permit the government to avoid preparing for trial.

Accordingly, she only qualifies only for a 2-level reduction,

and does not qualify for a third point. USSG 3E1.1(b).

     The defendant’s claim for a role reduction is not well-

founded.   The PSR shows she was involved from beginning to end,

understood and fully participated in the essential nature of the

business, asserted her authority, and did not lack awareness of

the scope of the criminal activity.       Accordingly, she does not

qualify as a minor or minimal participant.         This fact alone also

resolves the “familial influence” adjustment claimed by the

defendant, as the adjustment only applies to a “minimal

participant.”   Regardless, the defendant also cannot bear her

burden to show that she received no monetary compensation, was

motivated by the family relationship and otherwise unlikely to

commit the offense, and had minimal knowledge of the structure

and scope of the enterprise. USSG 2D1.1(b)(17).

     If the Court agrees with the government’s position, the

resulting GSR is 24/I = 51-63 months, or 4-5 years.           The

government recommends a sentence at the bottom of the range and

will be prepared at the sentencing hearing to discuss how the

defendant compares to the other defendants the court has



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sentenced.



                                        Respectfully submitted,

                                        ANDREW E. LELLING
                                        United States Attorney

                                  By:

                                        /s/ Theodore B. Heinrich
                                        THEODORE B. HEINRICH
                                        Asst. U.S. Attorney



                      CERTIFICATE OF SERVICE

     I hereby certify that this document filed through the ECF
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participants as identified in the Notice of Electronic Filing.


                                         /s/ Theodore B. Heinrich
                                        THEODORE B. HEINRICH
                                        Assistant U.S. Attorney

March 1, 2019




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